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EXHIBIT “1”

Las Vegas, Nevada 89102
(702) 248-3000 - Fax (702) 425-7290

MICHAEL J. HARKER
2901 El Camino Ave #200

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VERIFIED STATEMENT OF ATTORNEY IN SUPP()RT OF APPLICATI()N TO
EMPLOY LAW FIRM AS ATTORNEY FOR DEBTOR IN POSSESSION

Pui'suant to ll U.S.C. 327(a), 329(a) and Bankruptcy Rules 2014(a) and 2016(b), l\/Iichael J.
Harker, Esq. (“I” and/or the “Attorney”), on behalf of himself and the Law Offices of Michael J.
Harker (the “Law Firm,” which reference(s) to shall include Attorney, members, associates, and
employees thereof), being of lawful age, states and declares under penalty of perjury as follows:

1. BACKGROUND

This Verified Statement is made in support of the Application to Employ myself and Law
Firm as Attorney for AXEL AMILCAR CONTRERAS and MAYRA ISABEL LOPEZ, the Debtors

in Possession (“Debtor”).

1.1. l am an attorney at law, admitted to the bar of the State of Nevada and the U.S. District Court
ofNevada, and the principal of the Law Firm. l\/ly office is in Las Vegas, Nevada. l have
personal knowledge of the facts recited herein, and I am competent to testify regarding them
if called as a witness in this inatter.

1.2. l am an experienced attorney and am familiar with bankruptcy practice and bankruptcy
proceedings I have emphasized reorganizations under Chapter ll of the Bankruptcy Code
and other bankruptcy matters and have represented debtors under Chaptei's ll, 13, and 7 of
the Bankruptcy Code. Debtor will be represented by me or by regular associate attorney(s)
employed at the Law F irm (Bankruptcy Rule 2014(b)).

2. TERMS AND SCOPE OF EMPL()YMENT
2.1. Title 11 U.S. Code § 329(a) Statements.

2.1.1. Compensation. Law Firm entered into a written agreement dated l/7/2017with
Debtor regarding the services to be performed in connection With this case and
compensation to be paid. A copy of the agreement is attached as Exhibit 2 to the
“Application To Employ Law Firm As Attorney For Debtor In Possession” to which
this Exhibit is attached, and contains but is not limited to the following provisions:

1. Retainer Amount: $l 5,000.00
2. Retainer Payments: $lS,O()0.00 was paid prior to the filing date of this
Chapter ll case.

The retainer is a fixed price for seivices with respect to hourly fees. Law F irm reserves
the right to seek compensation for all costs and expenses and for work performed
beyond the scope of the retainer in accordance with applicable provisions of the
Bankruptcy Code, Bankruptcy Rules, Trustee Guidelines, and O_rders of the Court.
Prior to receipt, application to the Court shall be made by Law Firm for any postpetition
compensation or expenses

2.1.2. Use of Retainer. The retainer has been drawn upon for the following purposes:

1. Chapter ll case filing fee of $1717.00 paid on behalf of Debtor. Pre-Petition
services rendered as documented in Exhibit 3 to the Application.

2. Pi‘e petition work: The balance of the retainer shall remain held in trust until Couit
approval of any interim or final fee applications by Law Firm.

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2.2.

2.1.3. Sharing of Compensation. Neither Attorney nor the Law Fimi have shared or agreed
to share any portion of the compensation paid or to be paid in connection with this case
with any other persons except members or associates of the Law Firm.

Scope, Rate(s), and Expenses. The Law Firm charges for professional services at the
regular hourly rates for Attorney, any regularly associated attorneys and paraprofessional
staff, and will be paid for expenses incurred in representing the Debtor.

2.2.1. Scope and Necessity. The services of the Law Firm are necessary to enable the Debtor
to faithfully execute its duties in this Chapter ll case. Subj ect to the terms upon which
the Law F irm has agreed to represent Debtor, it is contemplated Law Firm will perform
services which may include but are not limited to (l) advising and representing the
Debtor concerning the rights and remedies of the estate in regards to the assets of the
estate, and with respect to the secured, priority and general claims of creditors; (2)
advising and representing the Debtor in connection with financial and business matters,
including the sale of any assets; (3) advising and representing Debtor in connection
with the investigation of potential causes of action against persons or entities,
including, but not limited to, avoidance actions, and the litigation thereof if warranted;
(4) representing Debtor in any proceeding or hearing in the Bankruptcy Court, and in
any action in other courts in which the rights of the estate may be litigated or affected;
(5) conducting examinations of witnesses, claimants, or adverse parties and preparing
and assisting in the preparation of reports, accounts, applications, and orders; (6)
advising and representing the Debtor in the negotiation, formulation, and drafting of
any plan of reorganization and disclosure statenient; (7) advising and representing the
Debtor in the performance of its duties and exercise of its powers under the Bankruptcy
Code, the Bankruptcy Rules, the Local Bankruptcy Rules, and the Region l7 Unites
States Trustee Guidelines; and (8) providing to the Debtor such other necessary advice
and services as the Debtor may require in connection with this Chapter ll case.

2.2.2. Rates. Regular hourly rates for services rendered are: $325.00 per hour for Attorney’s
services, $275.00 per hour for regular associate attorney services of the Law Finn
(Bankruptcy Rule 2014(b)), $175.00 per hour for paralegal(s). Rates are adjusted

annually but the annual adjustment will not apply to this engagement

2.2.3. Expenses. Law Firm will be reimbursed by Debtor for all customary support services
and expenses incurred with respect to the representation

3. DISINTERESTEDNESS AND CONNECTIONS ()F ATTORNEY AND LAW FIRM

3.1.

3.2.

Bankruptcy Rule 2014 Disinterestedness. Botli the Attorney and Law Firm are
disinterested persons, as that term is defined under the 11 U.S.C. §101(14), and do not hold
or represent an interest adverse to the bankruptcy estate with respect to the matter on which
we are to be employed

Bankruptcy Rule 2014 Connections. To the best of my knowledge, the Law Firm
(including the Attorney) have the following connections with the Debtor, its creditors, other
parties in interest, their respective attorneys and accountants, the United States Trustee, and
persons employed in the Office of the United States Trustee:

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3.2.1. The Debtor. Other than present-case services, Law Firm represents or has represented
Debtor in the following matters:
1. Two prior chapter 13 cases.

3.2.2. Creditors of the Debtor. Attorney and Law Firm have no connections with the
creditors of the Debtor.

3.2.3. Other Parties in Interest. Attorney and Law F irm have no connections with any other
parties in interest in this case.

3.2.4. Attorneys and Accountants. Attorney and Law Firm have no connections with the
attorneys or accountants of creditors, the Debtor (excluding the Law Firm), or any other
party in interest

3.2.5. United States Trustee. Attoniey and Law Firm have no connections with the United
States Trustee or any person employed in the Office of the United States Trustee.

3.3. Bankruptcy Rule 5002(a) Compliance. Neither Attorney nor any members, associates, or
employees of the Law Firm are relatives of any of the United States Bankruptcy Judges
serving in the United States Bankruptcy Couit, District of Nevada, which judges are making
appointments or approving employment of professional persons in the above-captioned case,
as the term “relative” is defined under 11 U.S.C. §101(45).

3.4. Continuing Duty of Disclosure. Both the Attorney and Law Firm understand that there is a
continuing duty to disclose any adverse interest that may arise or be discovered during the
course of this case. Periodic review will be conducted to ensure that no conflicts or other
disqualifying circumstances exist or arise. 1f any new relevant facts or relationships are
discovered or arise, supplemental information shall be provided to the Court.

4. PRE-PETITION EMPLOYMENT

Other than as described in § 3.2.1 above, no pre-petition services other than present-case,
bankruptcy-related services have been performed on behalf of Debtor.

5. POST-PETITION COMPENSATION

Law Firni is not seeking any post-petition compensation pursuant to 11 U.S.C. § 363(b), §
330, or Bankruptcy Rule 2016(a) from the bankruptcy estate at this time. Any future post-petition
use of estate property related to services of the Law Firm shall be subject to prior approval by the
Court.

1 declare under penalty of perjury under the laws of the Unites States that the foregoing is
true and correct to the best of my knowledge and belief

Dated: August 20, 2018.
Respectfully submitted by,

/s/ 1\/1ichael J. Harker
MICHAEL J. HARKER, ESQ.
2901 El Camino Ave., #200
Las Vegas, NV 89102
Attorney for Debtors

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